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 1                               IN THE UNITED STATES DISTRICT COURT
                                  NORTHERN DISTRICT OF CALIFORNIA
 2                                     SAN FRANCISCO DIVISION

 3   In re: CATHODE RAY TUBE (CRT) ANTITRUST          )   Case No. 07-5944 SC
     LITIGATION                                       )   MDL No. 1917
 4   _________________________________________        )
                                                      )   [PROPOSED] ORDER DENYING
 5   This Document Relates to:                        )   DEFENDANTS’ MOTION TO DISMISS
                                                      )   DIRECT ACTION PLAINTIFFS’
 6   DIRECT ACTION PLAINTIFF ACTIONS                  )   FEDERAL CLAIMS
                                                      )
 7   _________________________________________        )

 8                                           PROPOSED ORDER

 9          The Court hereby ORDERS AND ADJUDGES as follows:

10          For the reasons stated in the Court’s November 29, 2012 Order Granting in Part and

11   Denying in Part Defendants’ Joint Motion for Summary Judgment in the Direct Purchaser Class

12   Action Cases [Dkt. No. 1470],

13          IT IS HEREBY ORDERED that the Defendants’ Motion to Dismiss the Direct Action

14   Plaintiffs’ federal claims is DENIED.

15

16   IT IS SO RECOMMENDED.

17   Dated: _____          ___                                                  _____________
                                                     Hon. Charles A. Legge
18                                                   Special Master

19

20   IT IS SO ORDERED UPON THE RECOMMENDATION OF THE SPECIAL MASTER.

21

22   Dated: __________________                       ____________________________________
                                                     Hon. Samuel Conti
23                                                   United States District Judge

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     [PROPOSED] ORDER REGARDING MOTION TO DISMISS FEDERAL CLAIMS                     MDL No. 1917
